        CASE 0:22-cv-00644-PJS-ECW Doc. 21 Filed 06/09/22 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


                                                  CASE NO.: 22-CV-0644 (PJS/ECW)

 In the Matter of THE COMPLAINT OF             In Admiralty
 GARY J. WENDT AND JULIE K.
 WENDT, OWNERS OF THE MOTOR                        DECLARATION OF KEVIN S.
 VESSEL X RATED II FOR                            SANDSTROM IN SUPPORT OF
 EXONERATION FROM OR                             CLAIMANT MULBERRY POINT’S
 LIMITATION OF LIABILITY                           MEMORANDUM OF LAW IN
                                                  OPPOSITION TO PLAINTIFFS’
                                                  MOTION FOR CONTEMPT AND
                                                   TEMPORARY RESTRAINING
                                                           ORDER


       I, Kevin S. Sandstrom, state and declare as follows:

       1.     I am an attorney licensed to practice law in the State of Minnesota and the

United States District Court of Minnesota and represent Claimant Mulberry Point Yacht

Harbor, Inc. (“MPYH”) in the above-referenced matter.

       2.     This Declaration is offered in support of Claimant MPYH’s Memorandum

of Law in Opposition to Plaintiff’s Motion for Contempt and Temporary Restraining Order.

       3.     Mulberry Point Yacht Harbor, Inc. (“MPYH”) (also f/k/a Dock Association

of Stillwater, Inc.) is a member-controlled nonprofit entity incorporated under the laws of

the State of Minnesota which operates a marina on the St. Croix River at the end of

Mulberry Street in Stillwater, Minnesota.
        CASE 0:22-cv-00644-PJS-ECW Doc. 21 Filed 06/09/22 Page 2 of 2




       4.     The operation of MPYH and leasing of slips is controlled by MPYH’s

bylaws. A true and correct copy of the MPYH Bylaws from 1987 along with Amendments

from 1992 is attached hereto as Exhibit A.

       5.     True and correct copies of the 2015 and 2020 MPYH Membership

Certificates of Gary and Julie Wendt are attached hereto as Exhibit B.

       6.     A true and correct copy of the Mulberry Point Yacht Harbor, Inc. Occupancy

Agreement with the Wendts from 2015 is attached hereto as Exhibit C.

       7.     A true and correct copy of the May 10, 2022 listing from Facebook of

Plaintiffs Wendts’ St. Croix River boat slip for sale is attached hereto as Exhibit D.

       8.     A true and correct copy of the September 9, 2021 email from Matthew

Schmal of TSM National/Markel American Insurance to Wendt’s agent, David Johnson of

Tow, Incorporated constituting the first written notice of claims is attached hereto as

Exhibit E.



       Pursuant to 28 U.S.C. §1746, I declare under the penalty of perjury that the
foregoing is true and correct. Executed on the 9th day of June 2022, in the County of
Washington and the State of Minnesota.


                                                        /s/Kevin S. Sandstrom
                                                        Kevin S. Sandstrom
                                                        Eckberg Lammers, P.C.
                                                        (MN Atty #0348958)




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